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                                       United States District Court
                                        SOUTHERN DISTRICT OF CALIFORNIA


VIASAT, INC.                                                                Civil No. 16-CV-00463-BEN-JMA
                                                       Plaintiff,
                                               V.                     PRO HAC VICE APPLICATION
ACACIA COMMUNICATIONS, INC.                                                Acacia Communications, Inc.
                                                    Defendant.
                                                                           Party Represented


I,                 Stuart Duncan Smith                      hereby petition the above entitled court to permit me
                         (Applicant)

to appear and participate in this ease and in support of petition state:
         My firm name: Wolf, Greenfield & Saeks, P.C.______________________________________
         Street address: 600 Atlantic Avenue_____ __________________________________________
         City, State, ZIP: Boston, MA, 02210________________________________________________
         Phone number: 617-646-8000____________________________________________________
         Email:            sduncaiismith@wolfgreenfield.com___________________________________
         That on      11/21/2013           I was admitted to practice before Commonwealth of Massachusetts
                          (Date)                                                                (N ante o I" Court)

         and am currently in good standing and eligible to practiee in said court,
         that I am not currently suspended or disbarred in any other court, and
         that I □ have) ^ have not) concurrently or within the year preceding this application made
         any pro hac vice application to this court.
                                   (If previous application made, complete the following)
Title of ease
Case Number                                                                Date of Application
Application: □ Granted        □ Denied
       I declare under penalty of perjury that the foregoing is trueand copeejj

                                                                                            sriiiilurc ofAp

                                     DESIGNATION OF LOCAL C(WNSEL
I hereby designate the below named as assoeiate local counsel.
Victor M. Felix                                                            619-515-3229
(Name)                                                                     (Telephone)

Procopio, Coiy, Hargreaves & Savitch LLP
(Firm)

525 B Street, Suite 2200, San Diego, CA 92101




I hereby consent to the above designation.
